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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BUTTE DIVISION

 CRAIG DEL GRANDE, JILL DEL                    CV-20-65-BU-BMM
 GRANDE and WAHOO
 INVESTMENTS NETWORK dba                             ORDER
 WIN, INC.,

 Plaintiffs,

 vs.

 WINDRIVER TRISTAR, LLC, et al.,

 Defendants.

       The Court has been informed that this case has settled. (Doc. 11.)

Accordingly, IT IS HEREBY ORDERED that the parties, shall file a stipulation

for dismissal and submit a proposed order of dismissal to the undersigned on or

before December 1, 2021, or show good cause for their failure to do so.


       DATED       this 1st day of November, 2021.




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